Case
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                                     Opening - Fels                           556


    1   available for you.       You are also going to see me occasionally

    2   typing on my computer.      I'm following along with the

    3   transcript on the computer.       Just because you see me typing

    4   don't draw the conclusion that I am doing something that shows

    5   we've reached a significant part of the case.           That's not it

    6   at all.     If I'm making a note it's probably on a point of law

    7   that doesn't concern you.       It may be for another case where I

    8   see a similar issue.      Don't be distracted by my note taking go

    9   habits.

   10                All right. At this point we're going to begin with

   11   the government's opening statement.

   12                MR. FELS:    Thank you, your Honor.

   13                Ladies and gentlemen of the jury, this case is about

   14   drugs.    This case is about money.      This case is about

   15   violence.     This case is about prisons escapes.        This case is

   16   about a vast global narco empire, all culminating in the

   17   seizure of billions -- and that's with B -- of dollars of

   18   illegal narcotics from 1989 until 2014.

   19                And the kingpin who ran the organization, who is

   20   responsible for these illegal activities, that man, the

   21   defendant, Joaquin Guzman Loera, a man from the mountains of

   22   Mexico with street smarts.       He started low down in the

   23   organization, referred to as the Sinaloa Cartel or The

   24   Federation.    But he sold enough drugs and used instinct and

   25   brutality to rise all the way to the top of an organization of



               Anthony M. Mancuso, CSR         Official Court Reporter
